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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           RIGOBERTO GARCIA JAIMES,                  :    MOTION TO VACATE
               Movant,                               :    28 U.S.C. § 2255
                                                     :
                 v.                                  :    CRIMINAL INDICTMENT NO.
                                                     :    1:03-CR-0493-ODE-AJB-15
           UNITED STATES OF AMERICA,                 :
               Respondent.                           :    CIVIL FILE NO.
                                                     :    1:13-CV-0981-ODE-AJB

                             UNITED STATES MAGISTRATE JUDGE’S
                            FINAL REPORT AND RECOMMENDATION

                 This matter is before the Court on Movant’s 28 U.S.C. § 2255 motion, filed

           March 25, 2013. [Doc. 2478.] By Order and Judgment entered in January 2010, the

           Court denied Movant’s original § 2255 motion challenging his convictions under the

           above criminal docket number. [Docs. 2114, 2255, 2256.] This is a successive § 2255

           motion which must be dismissed because the Court has no authority to consider it.

           Movant first must get permission from the Eleventh Circuit Court of Appeals before

           a successive § 2255 motion can be filed in the district court. See 28 U.S.C. § 2255(h);

           Farris v. United States, 333 F.3d 1211, 1216 (11th Cir. 2003). A certificate of

           appealability is not warranted because it is not debatable that Movant must obtain

           permission from the Eleventh Circuit Court of Appeals before filing another § 2255




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           motion in this Court. See Rules Governing Section 2255 Proceedings for the United

           States District Courts, Rule 11.

                 Accordingly,

                 IT IS RECOMMENDED that this § 2255 motion, [Doc. 2478], be

           DISMISSED and that a certificate of appealability be DENIED.

                 The Clerk of Court is DIRECTED to withdraw the referral of this § 2255 motion

           to the undersigned Magistrate Judge.

                 IT IS SO RECOMMENDED and DIRECTED, this 3rd day of April, 2013.



                                                  ____________________________________
                                                  ALAN J. BAVERMAN
                                                  UNITED STATES MAGISTRATE JUDGE




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